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 5   Attorney for Chris ANG
 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     THE UNITED STATES OF AMERICA, ) No. CR-S-08-318 LKK
10                                 )
                    Plaintiff,     ) AMENDED
11                                 ) STIPULATION AND
          v.                       ) ORDER TO CONTINUE THE STATUS
12                                 ) CONFERENCE
13
     CRIS ANG,                     )
                                   ) Date: 2/14/2012
14                  Defendant.     ) Time: 9:15 a.m.
                                   ) Judge: Hon. Lawrence K. Karlton
15
          It is hereby stipulated between the parties, Assistant United
16

17   States Attorney Russell Carlberg, Michael Bigelow, attorney for

18   CRIS ANG, that the sentencing hearing date of should be continued
19
     until February 14, 2012 at 9:15 a.m.      As noted in the Probation
20
     Officer’s Interoffice Memorandum filed December 23, 2011, the
21
     parties continue to investigate the issue of loss and will be
22

23
     unable to file informal objections until the issues are resolved.

24   The probation officer has asked to be include in the

25   investigation. Based on the complexity of the case all parties
26
     have agreed to a continuation of judgment and sentencing.
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 1        The following schedule has been agreed upon. Informal
 2
     Objections - January 17, 2012; Final PSR – January 24, 2012;
 3
     Formal Objections to the       PSR – February 7, 2012; Sentencing –
 4
     February 14, 2012.
 5

 6

 7

 8   Dated:     January 4, 2011                  BENJAMIN WAGNER
                                                 United States Attorney
 9

10                                               /s/ Russell Carlberg____
                                                 RUSSELL CARLBERG
11                                               Assistant U.S. Attorney
12

13
     Dated: January 4, 2011                      Respectfully submitted,

14                                               /s/ Michael Bigelow__________
                                                 MICHAEL BIGELOW
15                                               Attorney for Cris Ang
16

17
                                    PROPOSED ORDER
18

19

20
     IT IS SO ORDERD

21

22   Dated: January 9, 2012
23

24

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26

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28




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